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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-CR-60020-DIMITROULEAS


     UNITED STATES OF AMERICA

     vs.

     RICHARD WASERSTEIN
                                       /

              UNOPPOSED MOTION TO CONTINUE SENTENCING

           Richard Waserstein files this motion to continue his sentencing hearing,

     currently set for April 27, 2022, and in support thereof, states the following:

           Mr. Waserstein was charged via criminal complaint on September 27,

     2020. On October 5, 2020, Mr. Waserstein was released on a $500,000.00

     personal surety bond as well as a $100,000.00 10% bond. Mr. Waserstein was

     formally indicted on January 19, 2021. Mr. Waserstein has remained compliant

     with all terms of pretrial release.

           As for the basis of his request to continue his sentencing date, Mr.

     Waserstein remains involved in ongoing cooperation with both the Southern

     District of Florida and Main Justice in Washington, D.C. Apart from ongoing

     cooperation, Mr. Waserstein also has a pending invasive medical procedure set

     for the beginning of June as well as his son’s graduation.

           Undersigned counsel has conferred with AUSA Jamie De Boer, who

     indicates she has no objection to this motion being granted.




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           WHEREFORE Mr. Waserstein respectfully requests that this Court

     grant his motion to continue his sentencing hearing and enter an Order

     continuing it until the week of June 27th.

                                                  Respectfully submitted,


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